
92 N.Y.2d 1042 (1999)
Becky J. Gielow, Appellant,
v.
Rosa Coplon Home et al., Defendants, and Rosa Coplon Jewish Home &amp; Infirmary et al., Respondents. (And a Third-Party Action.)
Court of Appeals of the State of New York.
Submitted November 23, 1998
Decided January 14, 1999.
Motion, insofar as it seeks leave to appeal from that portion of the Appellate Division order that denied appellant's motion for leave to amend her complaint, dismissed upon the ground that such portion of the order sought to be appealed from does not finally determine the action within the meaning of the Constitution; motion for leave to appeal otherwise denied.
